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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,
                                          Case No. 14-20273
vs.                                       HON. GEORGE CARAM STEEH

D-1 JOHNNY TROTTER, II, M.D., and
D-3 ELAINE LOVETT,

              Defendants.
___________________________________/

        ORDER GRANTING THE GOVERNMENT’S MOTION TO
      COMPEL DISCOVERY REGARDING GOOD FAITH RELIANCE
        ON THE ADVICE OF COUNSEL DEFENSE (DOC. 132)
      Presently before the Court is the Government’s motion to compel

discovery regarding defendant Johnny Trotter’s good faith reliance on the

advice of counsel defense. (Doc. 132). The Government requests that

Trotter waive the attorney client privilege over all communications from all

attorneys who advised him on his management practices.

      Trotter intends to assert a defense of good faith reliance on the

advice of counsel and has agreed to waive the attorney-client privilege.

Trotter’s counsel submitted waivers for three attorneys: Carey Kalmowitz,

Abby Pendleton, and Sarif Kasmikha. The Government asserts that Trotter

received management advice from additional attorneys, including Louis

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Szura, David Haron, James Burdick, and Robert Morgan, and requests that

Trotter waive privilege to these individuals as well.

      “The attorney-client privilege cannot at once be used as a shield and

a sword.” Ross v. City of Memphis, 423 F.3d 596, 604-05 (6th Cir. 2005)

(quoting United States v. Bilzerian, 926 F.2d 1285, 1292 (2d Cir. 1991)).

This standard conveys that “the privilege may implicitly be waived when

defendant asserts a claim that in fairness requires examination of protected

communications.” Id. As such, Trotter must waive privilege for all

attorneys who advised him on his management practices.

      The scope of this waiver “goes not only to the specific advice of

counsel, but also to all other attorney client communications related to the

same subject matter. This includes the client’s questions to the lawyer and

material provided to counsel to help render an opinion.” K.W. Muth Co. v.

Bing-Lear Mfg. Grp., L.L.C., 219 F.R.D. 554, 565 (E.D. Mich. 2003).

Defense counsel asserts that they have produced all of the relevant

documents in their possession. But, Fed. R. Crim. P. 16(b)(1)(A)(i)

requires production of all relevant communications in the defendant’s

possession, custody, or control. Defense counsel is ordered to request

these materials from his client. If Trotter has any such materials, counsel

must produce them to the Government. Failure to make a full disclosure


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constitutes a waiver of the advice of counsel defense. Vicinanzo v.

Brunschwig & Fils, Inc., 739 F. Supp. 891, 894 (S.D.N.Y. 1990); see, e.g.,

K & S Assocs., Inc. v. Am. Ass’n of Physicists in Med., 2011 WL 12873137,

at *1 (M.D. Tenn. Dec. 14, 2011).

         For the reasons stated above, the Government’s motion is

GRANTED. Trotter is ordered to (1) identify all attorneys who advised him

on his management practices, (2) waive the attorney-client privilege for

these attorneys, and (3) produce all materials relating to legal advice on

these management practices in his possession. Failure to do so will

preclude Trotter from raising the good faith reliance of counsel defense at

trial.

         IT IS SO ORDERED.

Dated: March 7, 2017

                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE


                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                       March 7, 2017, by electronic and/or ordinary mail.

                                       s/Barbara Radke
                                         Deputy Clerk




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